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 Attorneys for Amgen Inc. and
 Amgen Manufacturing Limited LLC

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 AMGEN INC. and AMGEN                                      Civil Action No. 1:24-cv-06497
 MANUFACTURING LIMITED LLC,                                          (CPO-EAP)

                        Plaintiffs,                          NOTICE OF JOINT
                                                          OMNIBUS MOTION TO SEAL

                                                        RETURN DATE: DECEMBER 16, 2024

 CELLTRION, INC. and CELLTRION USA,                              Filed Electronically
 INC.,

                        Defendants.


       PLEASE TAKE NOTICE that on December 16, 2024, or as soon thereafter as counsel

may be heard, Plaintiffs Amgen Inc. and Amgen Manufacturing Limited LLC (collectively,

“Amgen”) and Defendants Celltrion, Inc. and Celltrion USA, Inc., (collectively, “Celltrion”)

(Amgen and Celltrion collectively, “the parties”), shall move jointly pursuant to Local Civil Rule

5.3(c) before the Honorable Elizabeth A. Pascal, U.S.M.J., at the United States District Court for

the District of New Jersey, Mitchell H. Cohen Building & U.S. Courthouse, 4th & Cooper Streets,

Camden, New Jersey, for the entry of an Order sealing limited portions of the following:

           1. Letter to the Hon. Elizabeth A. Pascal, U.S.M.J., dated September 27, 2024, with
              Exhibits A-I annexed thereto (D.E. 131);
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           2. Letter to the Hon. Christine P. O’Hearn, U.S.D.J., dated September 30, 2024
              (D.E. 134);

           3. Joint Status Report with Exhibits A-O annexed thereto, dated September 30, 2024
              (D.E. 135);

           4. Letter to the Hon. Christine P. O’Hearn, U.S.D.J., dated October 7, 2024 (D.E.
              139);

           5. Letter to the Hon. Christine P. O’Hearn, U.S.D.J., dated October 14, 2024 (D.E.
              148);

           6. Letter to the Hon. Elizabeth A. Pascal, U.S.M.J., dated October 16, 2024, with
              Exhibits P-S annexed thereto (D.E. 150);

           7. Letter to the Hon. Elizabeth A. Pascal, U.S.M.J., dated October 17, 2024, with
              Exhibit T annexed thereto (D.E. 151);

           8. Letter to the Hon. Christine P. O’Hearn, U.S.D.J., dated October 21, 2024 (D.E.
              155); and

           9. Transcript, dated October 18, 2024 (D.E. 158).

       PLEASE TAKE FURTHER NOTICE THAT the parties shall rely upon the

accompanying Declaration of Liza M. Walsh, counsel for Amgen, with the attached Index, the

Declaration of James S. Richter with the attached Index, counsel for Celltrion, with the attached

Index, Proposed Findings of Fact and Conclusions of Law, and all papers submitted herewith. A

proposed Order is also submitted for the Court’s consideration.



 Dated: November 13, 2024                           Respectfully submitted,

 s/Liza M. Walsh                                    s/James S. Richter
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